
THE COURT.
Pursuant to the mandate of the Supreme " Court of the United States filed herein on the 13th day of January, 1947. It is hereby ordered that the judgment of this court filed and entered in the above-entitled action on the 1st day of November, 1945,  reversing the judgment entered in the action by the Superior Court of the State of California, in and for the County of Sacramento, be and the same is hereby vacated and set aside and the remittitur of tMs court ' heretofore filed with the Clerk of said Superior Court upon, reversal of the judgment is hereby recalled and annulled, andl it is further ordered that the judgment of the Superior- Court in favor of plaintiff Richfield Oil Corporation, and against defendant Board of Equalization be arid the same is hereby affirmed, plaintiff and respondent herein to recover its costs-, ori appeal. Let the remittitur issue forthwith.
